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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  IDAHO FEDERATION OF                           Case No. 1:23-cv-00353-DCN
  TEACHERS, et al.,
                                                JUDGMENT
        Plaintiffs,

  v.

  RAUL LABRADOR, in his official
  capacity as Attorney General of the State
  of Idaho, et al.,

        Defendants.


       In accordance with the Court’s memorandum decision and order entered

concurrently herewith, judgment is hereby entered in favor of Defendants and this case is

CLOSED.


                                               DATED: July 2, 2024


                                               _________________________
                                               David C. Nye
                                               Chief U.S. District Court Judge




JUDGMENT – 1
